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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                    JACKSONVILLE DIVISION


       MORGAN STANLEY SMITH BARNEY,
       LLC,

                                 Plaintiff,

       vs.                                             Case No. 3:18-cv-00141-J-34MCR

       DANIEL J. ABEL,

                          Defendant.
 _____________________________________/

                                              ORDER

         THIS CAUSE is before the Court on Plaintiff, Morgan Stanley Smith Barney, LLC’s

 (Morgan Stanley) Emergency Motion to Stay Proceedings Pending Arbitration and Extend

 Duration of Temporary Restraining Order and Incorporated Memorandum of Law in

 Support Thereof (Emergency Motion, Doc. 14), filed February 1, 2018. Defendant Daniel

 J. Abel (Abel) filed Defendant’s Response in Opposition to Plaintiff’s Emergency Motion

 to Stay Proceedings Pending Arbitration and Extend Duration of Temporary Restraining

 Order (Response, Doc. 17), on February 2, 2018. Accordingly, this matter is ripe for

 review.

         Morgan Stanley initiated this action by filing a Motion for a Temporary Restraining

 Order and Preliminary Injunction and Incorporated Memorandum of Law in Support

 Thereof (TRO Motion, Doc. 2) on January 22, 2018. On that same day, Morgan Stanley

 filed its Amended Complaint for Injunctive and Other Relief (Amended Complaint, Doc.

 6).   In the TRO Motion, Morgan Stanley sought a temporary restraining order and
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 preliminary injunction precluding Abel, and anyone acting in concert with him, from

 soliciting Morgan Stanley’s customers, in violation of the employment agreement between

 the parties. TRO Motion at 1. Morgan Stanley further sought an order directing Abel to

 return the company’s confidential information. Id.

       On January 23, 2018, the Court granted Morgan Stanley’s request and entered a

 Temporary Restraining Order, (TRO, Doc. 10), which remains in effect until 5 p.m.,

 Tuesday, February 6, 2018. At the same time, the Court set a hearing for Tuesday,

 February 6, 2018, to determine whether the Temporary Restraining Order should be

 converted into a preliminary injunction, and also set a schedule for the submission of

 briefs on the matter. The parties have complied with the briefing schedule set forth in the

 TRO, thus Morgan Stanley’s request for a preliminary injunction is ripe. See Defendant’s

 Response to Plaintiff’s Emergency Motion for Temporary Restraining Order and

 Preliminary Injunction (Response to TRO, Doc. 12), filed January 30, 2018; Plaintiff’s

 Reply in Support of Plaintiff’s Emergency Motion for Temporary Restraining Order and

 Preliminary Injunction (TRO Reply, Doc. 16), filed February 2, 2018.      However, in the

 midst of these filings, Morgan Stanley filed the Emergency Motion seeking alternative

 relief, specifically that the Court to stay the proceedings and extend the TRO pending

 completion of an expedited arbitration. See generally Emergency Motion.

       In support of its request to stay the proceedings and extend the TRO, Morgan

 Stanley notes that in the employment agreement between Morgan Stanley and Abel, the

 parties agreed to resolve any disputes in an arbitration before the Financial Industry

 Regulatory Authority (FINRA). Id. at 2; id., Exhibit 2 (Employment Agreement) at 5.

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 Pursuant to the FINRA Rules, parties may seek temporary injunctive relief from the

 federal courts to preserve the status quo while the underlying controversy proceeds to

 arbitration. FINRA Code of Arbitration Procedure Rule 13804(a)(1) (FINRA Rule(s)). The

 FINRA Rules require that a party who seeks such temporary relief from a court “must, at

 the same time,” file a Statement of Claim with FINRA, id. at FINRA Rule 13804(a)(2),

 which Morgan Stanley has done in this case. See Amended Complaint at ¶ 1, n.1; ¶ 4,

 n.2. FINRA Rules further provide that if a federal court grants temporary injunctive relief,

 the parties shall proceed under an expedited arbitration schedule, in which an arbitration

 hearing must begin within “15 days of the date the court issues” temporary relief. FINRA

 Rule at 13804(b)(1). Given that this Court issued the TRO on January 23, 2018, the

 FINRA arbitration hearing is required to begin no later than Thursday, February 8, 2018.

 Emergency Motion at 1. Morgan Stanley contends that the impending FINRA arbitration

 hearing, which will resolve Morgan Stanley’s request for permanent injunctive relief

 against Abel, negates this Court’s need to rule on Morgan Stanley’s pending motion for

 preliminary injunctive relief, and therefore Morgan Stanley seeks a stay of the

 proceedings in this Court. Id. at 4. Morgan Stanley also asserts that extending the TRO

 pending arbitration will not prejudice Abel, given that the injunction mirrors Abel’s

 contractual obligations to Morgan Stanley, and that Morgan Stanley will present evidence

 by way of testimony and evidence to the FINRA arbitration panel regarding Abel’s

 violations of those obligations. Id. at 5. As such, Morgan Stanley contends that

        FINRA’s jurisdiction over the mandatory arbitration of this matter, the
        imminent mandatory FINRA hearing, the fact that FINRA might hold the
        hearing and issue a ruling before this Court addresses the papers thereby
        potentially rendering the issue moot, and notions of judicial economy, all
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         constitute good cause to justify [a stay of the proceedings and a] brief
         extension of the Temporary Restraining Order.

 Id. at 4.

         In his Response, Abel does not dispute that the parties have contractually agreed

 to arbitration, nor does he object to the entry of a stay of this proceeding pending

 completion of the FINRA arbitration. Response at 5-6. However, he contends that the

 Court should proceed with the scheduled preliminary injunction hearing first, and only

 after the Court has determined whether the TRO should be converted to a preliminary

 injunction, should the Court stay the proceedings. Id. at 6. His principal argument is that

 Morgan Stanley, in its initial TRO Motion, mislead the Court by arguing that the

 controversy between Morgan Stanley and Abel should be evaluated under Florida law,

 rather than New York law. Id. at 4-5, 6. As such, Abel contends that staying the action

 while permitting the TRO to remain in place will deprive him of due process. Id. at 6. 1

         In seeking to stay this proceeding pending a resolution of the parties’ dispute in a

 FINRA arbitration, Morgan Stanley relies on the Federal Arbitration Act, 9 U.S.C. §§ 1–

 16 (FAA). Section 2 of the Act provides:

         A written provision in any maritime transaction or a contract evidencing a
         transaction involving commerce to settle by arbitration a controversy
         thereafter arising out of such contract or transaction, or the refusal to
         perform the whole or any part thereof, or an agreement in writing to submit
         to arbitration an existing controversy arising out of such a contract,
         transaction, or refusal, shall be valid, irrevocable, and enforceable, save


 1 Abel also objects to Morgan Stanley’s request in its TRO Reply that the Court alter the terms of the TRO

 to impose stricter limitations on Abel’s conduct. See TRO Reply at 17-18; Response at 3. The Court notes
 that the inclusion of this request for affirmative relief in the Morgan Stanley’s TRO Reply, rather than filing
 a motion, is improper. See Rule 7(b)(1), Federal Rules of Civil Procedure (Rules(s)). Accordingly, Morgan
 Stanley’s request that the Court enhance the terms of the TRO are not properly before the Court and will
 not be considered.
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         upon such grounds as exist at law or in equity for the revocation of any
         contract.

 9 U.S.C. § 2. 2 This provision of the FAA represents “‘a congressional declaration of a

 liberal federal policy favoring arbitration agreements.’” Davis v. S. Energy Homes, Inc.,

 305 F.3d 1268, 1273 (11th Cir. 2002) (quoting Moses H. Cone Mem'l Hosp. v. Mercury

 Constr. Corp., 460 U.S. 1, 24, 103 S.Ct. 927, 74 L.Ed.2d 765 (1983)). Federal policy,

 therefore, requires courts to “construe arbitration clauses generously, resolving all doubts

 in favor of arbitration[.]” Becker v. Davis, 491 F.3d 1292, 1305 (11th Cir. 2007). As such,

 “upon being satisfied that the issue involved . . . is referable to arbitration under such an

 agreement, [the Court] shall on application of one of the parties stay the trial of the action

 until such arbitration has been had in accordance with the terms of the agreement.” 9

 U.S.C. § 3; Shearson/Am. Express, Inc. v. McMahon, 482 U.S. 222, 226 (1987) (“[A] court

 must stay its proceedings if it is satisfied that the issue before it is arbitrable . . . .”)

 (emphasis added). Indeed, the Supreme Court has noted that “[t]he ‘principal purpose’

 of the FAA is to ‘ensure private arbitration agreements are enforced according to their

 terms.’” AT&T Mobility, LLC v. Concepcion, 563 U.S. 333, 334 (2011) (quoting Volt

 Information Sciences, Inc. v. Bd. of Trustees of Leland Stanford Junior Univ., 489 U.S.

 468, 478 (1989)).

         Here, the parties do not contest that they have agreed to submit the claims alleged

 in Morgan Stanley’s Amended Complaint to arbitration before FINRA. Emergency Motion




 2Subject to the specific exemptions in 9 U.S.C. § 1, which are not applicable here, the Supreme Court has
 unequivocally determined the FAA broadly applies to all contracts of employment “involving commerce.”
 Circuit City Stores, Inc. v. Adams, 532 U.S. 105, 119 (2001).
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 at 2; Employment Agreement at 5; Response at 5-6. Likewise, based on the Court’s

 review of the parties’ filings, including a copy of the Employment Agreement between

 Morgan Stanley and Abel, the Court is satisfied that the disputed issues involved in this

 case are referable to arbitration. Employment Agreement at 5. As such, and pursuant to

 9 U.S.C. § 3, this Court is bound to stay the proceedings before it while the matter

 proceeds to arbitration before FINRA.

         The Court next turns to Abel’s contention that the Court should delay in entering a

 stay until after the preliminary injunction hearing scheduled for February 6, 2018, and

 should not extend the effect of the TRO. In opposing any extension of the TRO, Abel

 notes that Morgan Stanley sought and obtained the TRO on the basis of the application

 of Florida law, but the parties’ obligations under the Employment Agreement are actually

 governed by New York law. Response at 4-5. In doing so, he contends that the relief

 Morgan Stanley obtained in the TRO is broader than that which it could have obtained

 under New York law. Id. He does not, however, contend that applying New York law to

 the facts set forth in Morgan Stanley’s Amended Complaint, and the TRO Motion with its

 supporting affidavits, would or should have resulted in a denial of the TRO Motion. 3

         In preparing for the upcoming preliminary injunction hearing, the Court has studied

 the applicable New York legal authority. While there exist some distinctions between the

 laws of New York and Florida regarding the enforceability of employment restrictive



 3 The Court recognizes that in opposing the conversion of the TRO to a Preliminary Injunction, Abel
 challenges many of Morgan Stanley’s factual assertions and argues that on this more complete record,
 applying New York law, a preliminary injunction is not warranted. This, however, is different than asserting
 that the facts as set forth by Morgan Stanley would not have warranted the entry of a TRO under New York
 law.
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 covenants, the Court is not persuaded that those differences would have materially

 impacted the Court’s resolution of the TRO Motion. In other words, it does not appear

 that application of New York law to Morgan Stanley’s ex parte request for temporary

 injunctive relief would have resulted in a different conclusion. Notably, Abel also contends

 that staying this action and continuing the TRO for an additional period of time would be

 improper and result in a denial of due process. Response at 5, 6. However, he fails to

 explain why the FINRA arbitration in which he agreed to participate does not fully address

 any due process concerns. 4

         Rule 65(b)(2) of the Federal Rules of Civil Procedures (Rule(s)) governs the length

 of time a TRO may remain in effect. The Rule provides that the effect of a TRO is “not to

 exceed 14 days . . . unless before that time the court, for good cause, extends it for a like

 period or the adverse party consents to a longer extension. The reasons for an extension

 must be entered in the record.” Rule 65(b)(2); see also Bracciale, LLC v. Nat’l Sourcing,

 Inc., No. 8:17-cv-2040-T-27AEP, 2017 WL 3769284, *1 (M.D. Fla. Aug. 29, 2017);

 Trincorp, LLC v. Remotely Operated Auto Racers, No. 6:13-cv-389-Orl-31TBS, 2013 WL

 868196, *1 (M.D. Fla. March 7, 2013); Central Alabama Fair Housing Ctr. v. Magee, No.

 2:11cv982-MHT, 2011 WL 6090125, *1 (M.D. Ala. Dec. 7, 2011).

         Here, the Court finds that Morgan Stanley has demonstrated good cause to

 warrant extending the TRO for an additional 14 days. Preliminarily the Court observes




 4 In his Response, Abel appears to criticize Morgan Stanley’s request for a TRO in this forum only to be
 followed by a request for a stay to allow the parties to proceed with the expedited FINRA evidentiary
 hearing. But it appears that this course of action is specifically contemplated by the FINRA Rules which
 Morgan Stanley and Abel agreed would govern any dispute between them.
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 that because this action must be referred to arbitration before FINRA, it is FINRA, not the

 Court, that will resolve the rights and obligations of the parties. The FINRA hearing to

 finally adjudicate Morgan Stanley’s claim must begin by February 8, 2018, just two days

 after this Court’s scheduled preliminary injunction hearing. Under these circumstances,

 “it makes little sense” for the parties and the Court to expend substantial resources on the

 contested issue of preliminary injunctive relief when a full evidentiary hearing to resolve

 the parties’ dispute fully must begin in a matter of days. See Suntrust Invest. Servs., Inc.

 v. Wachovia Sec. LLC, No, 8:08-cv-852-T-26TGW, 2008 WL 2074395, *1 (M.D. Fla. May

 15, 2008). Indeed, even if the Court were to proceed with the preliminary injunction

 hearing as scheduled, given the complexity of the issues and the diametrically opposed

 positions of the parties, it is unlikely the Court would be able to enter a reasoned decision

 before the arbitration hearing, rendering the parties’ participation in the preliminary

 injunction hearing futile. In addition, any decision made by the Court would be based on

 the limited record before the Court on a motion for preliminary injunction. In contrast, the

 FINRA hearing, scheduled just two days later, will allow the parties to litigate the dispute

 in a full evidentiary hearing, including the calling and cross examination of relevant

 witnesses.   Finally, the Court notes that because the controversy between Morgan

 Stanley and Abel in this action may implicate policy determinations which are required to

 be resolved by FINRA, FINRA industry experts appear to be better suited to examine and

 resolve the issues than the judiciary. For all these reasons, the Court determines that

 staying the proceedings at this time, while preserving the status quo with the current TRO,



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 is justified. Accordingly, the Court determines that good cause exists to extend the TRO

 and stay the current proceedings pending arbitration before FINRA.

    In consideration of the foregoing, it is ORDERED:



    1. Plaintiff’s Emergency Motion to Stay Proceedings Pending Arbitration and Extend

       Duration of Temporary Restraining Order (Doc. 14) is GRANTED.



    2. The preliminary injunction hearing scheduled before this Court for Tuesday,

       February 6, 2018, is cancelled.




    3. The Parties are ordered to proceed to an expedited arbitration hearing on the

       merits before a duly appointed panel of arbitrators, pursuant to Rule 13804(b) of

       the FINRA Code of Arbitration Procedure.



    4. The Court’s Temporary Restraining Order which was issued on January 23, 2018,

       and due to expire on February 6, 2018, is extended for fourteen days until 5 p.m.,

       Tuesday, February 20, 2018.




    5. Upon the scheduling of the date for the FINRA evidentiary arbitration hearing,

       Plaintiff shall immediately inform the Court of the date of said hearing.



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    6. Plaintiff shall provide the Court with a report on the status of the arbitration

       proceedings on Monday, February 12, 2018, another report again by noon on

       Friday, February 16, 2018, and additional reports every 30 days thereafter until the

       FINRA proceedings are complete.




    7. The Clerk of the Court is directed to stay and administratively close the case.



       DONE AND ORDERED at Jacksonville, Florida on February 5, 2018.




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 Copies to:

 Counsel of Record
 Pro Se Parties




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